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EXHIBIT “D”
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PART II -AFFECTED EXCEPTIONS (JUNIOR)

THE FOLLOWING ARE ALSO EXCEPTIONS TO COVERAGE IN THIS FORECLOSURE TITLE POLICY BUT WILL
NOT BE SHOWN IN THE SCHEDULE OF EXCEPTIONS IN THE POLICY THE COMPANY IS COMMITTING TO
ISSUE IN PARAGRAPH 5 OF SCHEDULE A UPON COMPLETION OF A LAWFULLY CONDUCTED
FORECLOSURE AND HAVING MET THE COMMITMENT REQUIREMENTS:

3. A DEED OF TRUST TO SECURE AN ORIGINAL INDEBTEDNESS OF $79,500.00, AND ANY OTHER AMOUNTS
OR OBLIGATIONS SECURED THEREBY, RECORDED MAY 26, 2006 AS INSTRUMENT NO. 2006-0374683 OF
OFFICIAL RECORDS.

DATED: MAY 24, 2006.

TRUSTOR: GUILLERMO A. MARTINEZ BAHENA, A SINGLE MAN.

TRUSTEE: CALIFORNIA TITLE COMPANY.

BENEFICIARY: MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. ("MERS"), AS
NOMINEE FOR

LENDER: AMERICAN HOME MORTGAGE.

NOTE: SUBJECT TO THAT CERTAIN BANKRUPTCY AGAINST AMERICAN HOME MORTGAGEAS DEBTORS
AND DEBTORS-IN-POSSESSION, FILED ON AUGUST 6, 2007 IN THE UNITED STATES BANKRUPTCY COURT,
DISTRICT OF DELAWARE, UNDER CHAPTER 11, CASE NUMBER 07-11047.

NOTE: PRIOR TO PROCEEDING WITH THIS FORECLOSURE, RELIEY FROM THE AUTOMATIC STAY

SHOULD BE OBTAINED OR INFORMATION FROM THE BANKRUPT ENTITY THAT THE ABOVE
MENTIONED LOAN IS NO LONGER PART OF THE BANKRUPTCY ESTATE SHOULD BE PROVIDED.

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